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                             Exhibit B
       (Pages from Brenda Murphy Deposition Transcript)
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 1                         IN THE UNITED STATES DISTRICT COURT
 2                           FOR THE DISTRICT OF SOUTH CAROLINA
 3                                            COLUMBIA DIVISION
 4
 5      CASE NUMBER:               3:21-cv-03302-JMC-TJH-RMG
 6
 7      THE SOUTH CAROLINA STATE CONFERENCE
 8      OF THE NAACP,
 9      and TAIWAN SCOTT, on behalf of himself
10      and all similarly situated persons,
11                         Plaintiffs,
12      vs.
13      HENRY D. MCMASTER, in his official
14      capacity as Governor of
15      South Carolina, et al.,
16                         Defendants.
17
18
19
20
21                                            DEPOSITION
22                                                   OF
23                                        BRENDA MURPHY
24                           February 4, 2022 at 9:05 a.m.
25

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 1      member of the NAACP participated in one of our
 2      community meetings.               I would say meetings with
 3      presidents and members interested in attending.                             That
 4      was the only occasion.
 5              Q.             When you use the term "we", to whom do
 6      you refer?
 7              A.             I am talking about the coalition.
 8              Q.             Okay.      And who is this representative to
 9      whom you refer?
10              A.             I --
11                             MR. INGRAM:         Objection.         Asking for --
12      I'm going to instruct my client not to answer.                            That's
13      asking for the identity of a NAACP member.
14                             MR. MOORE:        I don't believe that's --
15      is that a privileged -- you're instructing your client
16      not to answer when I ask her who she met with.                            Is
17      that correct?
18                             MR. INGRAM:         The answer would reveal
19      the name of a member and a partial disclosure of a
20      membership list and we would be happy to submit a
21      motion under Federal Rules of Civil Procedure
22      30(b)(1) and there's Supreme Court case law, NAACP v.
23      Alabama that places precedent as a compelling sort of
24      prevention of this disclosure.
25                             MR. MOORE:        Well, then you're going to

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 1      three members would be party to engaging in purposeful

 2      racial discrimination?

 3             A.            Sir, I can't read the minds of those

 4      individuals.         I only can look at the outcome in terms

 5      of the mapping and the results of who it has -- will

 6      impact, not has the potential but will impact and that

 7      is people that are black.

 8             Q.            And do you know if Representative Henegan

 9      is African American?

10             A.            I know she's African American, yes.

11             Q.            Do you know if Mr. Bamberg is African

12      American?

13             A.            I know he's African American.

14             Q.            All right.        And --

15             A.            Also incumbent.

16             Q.            And the person who attended this meeting

17      that you refuse to name, was that person an incumbent?

18             A.            Yes.

19             Q.            Okay.     Is it Representative Jerry Govan?

20                           MR. INGRAM:        Objection.        Not going to

21      disclose membership lists or names.

22                           MR. MOORE:        Well, Mr. Ingram, just so you

23      know, the documents that you provided us in discovery

24      last night and I'm going over them at the end of this

25      deposition, they provide us names and identifications of

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 1      members of the South Carolina State Conference of the

 2      NAACP.        So I do not believe that that is a valid

 3      objection.

 4                           MR. INGRAM:        If there are public

 5      documents, you can point to names, by all means, but we

 6      will not be confirming or denying any membership names

 7      or lists.

 8               Q.          I didn't ask you for a list at this

 9      point.        I simply asked you if Representative Govan was a

10      person who attended this meeting for which there are no

11      minutes?

12                           MR. INGRAM:        I'm instructing my client

13      not to answer.          That is an NAACP meeting and you're

14      asking my client to confirm a membership identity.

15               Q.          Are you a member of the South Carolina

16      Conference of the NAACP, Ms. Murphy?                    Are you?      I need

17      an answer, Ms. Murphy.

18               A.          That is a rhetorical question.

19               Q.          Well, it may be a rhetorical question but

20      it's a yes or no.           Are you a member of the South

21      Carolina State Conference of the NAACP?

22               A.          I am sitting before you as a member of

23      the South Carolina State Conference.

24               Q.          And I believe that you have identified

25      yourself publicly in public hearings as a member of the

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 1      each of the challenged districts?
 2                             MR. INGRAM:         Objection.         I'm instructing
 3      my client not to answer as it would disclose
 4      confidential membership identity.
 5                             MR. MOORE:        I didn't ask her for the
 6      names of anyone, Mr. Ingram.                     I simply asked the
 7      question -- and so I don't believe that objection is
 8      well-founded.
 9                             (Simultaneous crosstalk.)
10              Q.             My question is --
11                             MR. MOORE:        Are you instructing her not
12      to answer, Mr. Ingram?
13                             MR. INGRAM:         Correct.
14              Q.             Okay.      My question is without identifying
15      any person, okay, who spoke to a person who resided in
16      each of the challenged districts?
17                             MR. INGRAM:         Objection.         I don't know how
18      you respond to that question without identifying a
19      person.      Same objection about membership lists.
20              Q.             Did you speak to anyone from any
21      challenged district, Ms. Murphy?
22              A.             I have to answer that with more than
23      just a yes or no.
24              Q.             Please answer my question and then
25      elaborate.

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 1               Q.            All right.        So have you done a comparison
 2      between the districts that are drawn in the current
 3      House plan as enacted and the lines that were drawn in
 4      2011?     Have you done that?
 5               A.            No, I did not personally do that.
 6               Q.            Okay.      Do you think that it might be wise
 7      to look at that before making an allegation here?
 8               A.            I did not -- this is not a personal
 9      plan of Brenda Murphy, sir.                   This is a plan that was
10      developed with input from individuals from the Sumter
11      area, from the Chester area, from the Anderson County
12      area.     So this is not a Brenda Murphy plan.
13               Q.            Who are the individuals from Anderson
14      County who gave you the information that --
15               A.            I have said to you as much as I can.
16      The president, the leadership from the branches,
17      members of the branches.                 That is all I can say to
18      you, sir.
19               Q.            I'm asking you for names, Ms. Murphy.
20      Can you give me any names?
21                             MR. INGRAM:         Objection.         I'm instructing
22      my client not to answer.                 We've already been through
23      this.     We're not giving you names of members of the
24      NAACP.
25                             MR. MOORE:        Well, you've already given me

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 1      identified areas to discuss and identify potential
 2      plaintiffs from those areas.                     Attorney Boykin and
 3      Attorney Aden with LDF volunteered to work with the
 4      plaintiffs to prepare them emotionally for testifying
 5      during litigation should it become necessary.
 6                             So my question is did you along with
 7      members of the SC NAACP Political Action Group go
 8      through the identified areas to identify potential
 9      plaintiffs?
10               A.            I'm going to say there was an effort
11      made to do that but there was concerns voiced.                             I
12      never received a list, I know that, in terms of
13      identifying plaintiffs.                 So was that actualized?                No.
14               Q.            Okay.      So when there was a concern
15      voiced, a concern voiced by whom?
16               A.            About presidents regarding a listing of
17      names.
18               Q.            How many people are members of the
19      SC NAACP Political Action Group?
20               A.            I would say maybe ten.
21               Q.            Okay.      And who are those people?
22                             MR. INGRAM:         Objection insofar as these
23      are members of the NAACP whose names are not publicly
24      available.          I'm instructing her not to answer --
25               Q.            I'd also like you to look at the last

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